               Case 3:23-cv-02880-JSC Document 252-1 Filed 06/27/23 Page 1 of 2

                                   UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA

Case No: 23-cv-02880-JSC

Case Name: Federal Trade Commission v. Microsoft Corporation, et al.

                            TRIAL SHEET, EXHIBIT and WITNESS LIST

 JUDGE:                           COUNSEL FOR FTC:                         COUNSEL FOR DEFENDANTS:
 Jacqueline Scott Corley          James Weingarten/Alex Ansaldo/Nicole     Beth Wilkinson/Kieran
                                  Callan/Peggy Bayer Femenella/Jenny       Gostin/Grace Hill/Rakesh
                                  Fleury/Meredith Levert/Merrick Pastore   Kilaru/Anastasia Pastan/Steven
                                                                           Sunshine/Evan Kreiner/Caroline
                                                                           Van Ness

 TRIAL DATE:                      COURT REPORTER:                          CLERK:
 June 27, 2023 (Day 3)            Marla Knox                               Ada Means

 PLTF.     DEFT.     DATE/TIME
 NO.       NO.       OFFERED        ID    REC    DESCRIPTION
                     8:08 a.m.                   Court and counsel confer re: witnesses and exhibits. Elsbeth
                                                 Bennett appeared for Sony and Michael Bonanno appeared
                                                 by telephone for NVIDIA Corporation. (SEALED)
                     8:42 a.m.                   Court is in recess.
                     8:50 a.m.                   Court reconvenes, all parties present.
                     8:53 a.m.                   Portions of video testimony of JIM RYAN is played. (Not
                                                 Reported)
                     10:04 a.m.                  The following exhibits are marked and admitted into
                                                 evidence: PX 8001, PX3101, PX3106, PX3110, PX7053
                                                 and PX7054 for FTC. PX3109, RX0020, RX0070,
                                                 RX0079, RX1162, RX2064 and RX2163 for MS.
                     10:14 a.m.                  Court reconvenes with all parties present. ROBIN LEE is
                                                 sworn as a witness for plaintiff and is under cross
                                                 examination by Ms. Wilkinson. For Robin Lee’s direct
                                                 examination by FTC, please refer to docket number 224.
                                                 The document is currently partially redacted and under seal
                                                 pending ruling by the Court.
           RX5053 11:40 a.m.         X     X
           RX5054 11:47 a.m.         X     X
                     11:55 a.m.                  Court called for the noon recess.
                     12:39 p.m.                  Court reconvenes with all parties present. Robin Lee under
                                                 further cross examination by Ms. Wilkinson.
                     1:04 p.m.                   Robin Lee under redirect examination by Mr. Pastore.
                     1:57 p.m.                   The following exhibits are marked and admitted into
                                                 evidence: PX5000 for FTC. RX2069, PX1136, RX2073,
                                                 and RX2098 for MS.
                     1:59 p.m.                   Robin Lee is excused. The Court called for the afternoon
                                                 recess.

                                                       1
Case 3:23-cv-02880-JSC Document 252-1 Filed 06/27/23 Page 2 of 2

     2:11 p.m.             Court reconvenes with all parties present. Portions of video
                           testimony of PHIL EISLER is played. (Not Reported)
     2:22 p.m.             The following exhibits are marked and admitted into
                           evidence: PX8000, PX3103, PX3104, PX3144, PX3052,
                           PX2319, PX1781, and PX7060 for FTC.
     2:23 p.m.             ELIZABETH BAILEY is called out of order and sworn as
                           a witness for Defendants and is under direct examination by
                           Mr. Kilaru.
     3:06 p.m.             Court is adjourned for the day. The matter is continued to
                           June 28, 2023.




                                2
